                     UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF NORTH CAROLINA


FILTALERT CORPORATION,                                )
                                                      )
       Plaintiff,                                     )       Case No.: 7:15-cv-00276
                                                      )
v.                                                    )
                                )
INTERNATIONAL BUSINESS MACinNES )
CORPORATION and                 )
LENOVO (UNITED STATES) INC.,    )
                                )
     Defendants.                )
____________________________)
                        ORDER OF DISMISSAL WITH PREJUDICE

       On this day, Plaintiff Filtalert Corporation and Defendant Lenovo (United States) Inc.,

announced to the Court that they have settled their respective claims for relief asserted in this

case. The Court, having considered this request, is of the opinion that their request for dismissal

should be granted.

       IT IS THEREFORE ORDERED that all claims for relief asserted against Lenovo (United

States) Inc., by PlaintiffFiltalert Corporation, are dismissed, with prejudice.

       IT IS FURTHER ORDERED that all attorneys' fees, costs of court and expenses shall be

borne by each Party incurring the same.

       so ORDERED this 11          day of    0 cfofu. r           '2016.



                                       By:     ~-          l\At.-...JIIA
                                             UNI ED STATES DISTRICT JUDGE
